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                     UNlTED STATES DISTRICT COURT                  Clarl<, u.s District Court
                                                                      Olstrict Of Montana
                         DISTRICT OF MONTANA                               Great Falls
                         GREAT FALLS DIVISION



UNITED STATES OF AMERICA,                    Case No. CR 13-41-GF-DLC-RKS

                    Plaintiff,               FINDINGS AND
                                             RECOMMENDATION
vs.                                          CONCERNING PLEA

STUART MORGAN PATTIE,

                    Defendant.

      The Defendant, by consent, has appeared before me lUlder Fed. R. Crim. P.

II and has entered a plea of guilty to one COlUlt of Conspiracy to Possess With

Intent To Distribute Methamphetamine (Count I), as set forth in the Indictment. In

exchange for Defendant's plea, the United States has agreed to dismiss cOlUlts II,

III, and IV ofthe Indictment.

      After examining the Defendant lUlder oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and VO]lUltary plea,

      2. That the Defendant is aware of the nature of the charge against him and

consequences of pleading guilty to the charge,
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      3. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty, and

      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each ofthe essential elements of the

count charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that he fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

tme. Therefore, I recommend that the Defendant be adjudged guilty of Count I of

the Indictment, and that sentence be imposed. I further recommend that Count II,

III, and IV of the Indictment be dismissed.

      This report is forwarded with the recommendation that the Court defer

a decision re!!arding acceptance until the Court has reviewed the Plea

Agreement and the presentence report.

      DATED this 20th day of June, 2013.




                                       United States Magistrate Judge
